Case 1:22-cv-02916-WFK-VMS Document6- Filed 10/18/22 Page 1of1PagelID#: 21

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

MATTHEW HOPKINS,

Plaintiff,
Case No. 1:22-cv-02916
V.

HEALTHCARE REALTY TRUST INC.,
JOHN KNOX SINGLETON, TODD J.
MEREDITH, JOHN V. ABBOTT, NANCY
H. AGEE, EDWARD H. BRAMAN, AJAY
GUPTA, JAMES J. KILROY, PETER F.
LYLE, and CHRISTANN M. VASQUEZ,

Nee ee Ne ee “SS” SS”

Defendants.

PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(a),
plaintiff hereby voluntarily dismisses the above-captioned action (the “Action”) with prejudice.

Defendants have filed neither an answer nor a motion for summary judgment in the Action.
Dated: October 18, 2022 RIGRODSKY LAW, P.A.

By: _/s/ Gina M. Serra
Gina M. Serra
825 East Gate Boulevard, Suite 300
Garden City, NY 11530
(516) 683-3516

gms(@rl-legal.com

Attorneys for Plaintiff

SO ORDERED.

s/ WFK

Dated: October 18, 2022 HON. WILLIAM F. KUNTZ, II
Brooklyn, New York UNITED STATES DISTRICT JUDGE

